            Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 1 of 30



 1   KEVIN J. O’BRIEN (NY Bar 1673847)
     kobrien@fordobrien.com
 2   (pro hac vice forthcoming)
     ALEXANDER SHAPIRO (NY Bar 2466225)
 3   ashapiro@fordobrien.com
     (pro hac vice forthcoming)
 4   STEPHEN R. HALPIN III (DC Bar 1048974)
     shalpin@fordobrien.com
 5   (pro hac vice forthcoming)
     FORD O’BRIEN LLP
 6   575 5th Ave, 17th Floor
     New York, NY 10017
 7   Telephone:     212-858-0040
     Facsimile:     212-256-1047
 8
     WILLIAM J. EDELMAN (SBN 285177)
 9   wedelman@delawllp.com
     PATRICK R. DELAHUNTY (SBN 257439)
10   pdelahunty@delawllp.com
     DELAHUNTY & EDELMAN LLP
11   4 Embarcadero Center, Suite 1400
     San Francisco, CA 94111
12   Telephone:     415-891-6210
     Facsimile:     415-891-6256
13   Attorneys for Defendant
     OZY Media, Inc.
14
                            UNITED STATES DISTRICT COURT
15
                          NORTHERN DISTRICT OF CALIFORNIA
16
                                   SAN JOSE DIVISION
17
                                             )
18
     LIFELINE LEGACY HOLDINGS LLC, a)) Case No: 21-cv-07751-BLF
19   Delaware limited liability company,     )
                    Plaintiff,               ) DEFENDANT OZY MEDIA, INC.’S
20                                           ) NOTICE OF MOTION AND MOTION
           vs.                               ) TO DISMISS THE FIRST AMENDED
21                                           ) COMPLAINT: MEMORANDUM OF
                                             )
     OZY MEDIA, INC., a Delaware corporation;) POINTS AND AUTHORITIES IN
22                                             SUPPORT THEREOF
     SAMIR RAO, an individual; CARLOS)
23   WATSON, an individual,                  )
                    Defendants.              )
24                                           ) Hon. Beth Labson Freeman
25
26
27
28

                                              Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                   Case No. 21-cv-07751-BLF, Page i of vii
                Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 2 of 30



 1                              NOTICE OF MOTION AND MOTION
 2   TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on May 5, 2022, at 9:00 AM, in Courtroom 3, 5th Floor
 4   of the United States District Court for the Northern District of California, located at 280 South
 5   1st Street, San Jose, California, Defendant OZY Media, Inc., will and hereby does move for an
 6   order dismissing Plaintiff’s First Amended Complaint (“FAC”) [ECF No. 18] on the ground
 7   that it fails to state a claim under Federal Rules of Civil Procedure 9(b) and 12(b)(6) and the
 8   Private Securities Litigation Reform Act of 1995, Pub. L. 104–67, 109 Stat. 737. This motion
 9   is based on the Memorandum of Points and Authorities, the Declaration of William J. Edelman
10   and attached exhibits, the Request for Judicial Notice in Support of the Motion to Dismiss the
11   First Amended Complaint, and all other matters properly before the Court.

12          Defendant seeks an order pursuant to Federal Rule of Civil Procedure 12(b)(6)
13   dismissing with prejudice Plaintiff’s claims for failure to state a claim upon which relief can be
14   granted.
15                                     STATEMENT OF ISSUES
16          Whether the FAC fails to state a claim under (i) Section 10(b) of the Securities
17   Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b–5 promulgated by the Securities and

18   Exchange Commission, 17 C.F.R. § 240.10b–5, (ii) California Corporations Code § 25401, and
19   (iii) California common law.
20   Dated: January 7, 2022                Respectfully submitted,

21                                         DELAHUNTY & EDELMAN LLP

22                                                /s/ William J. Edelman
                                           WILLIAM J. EDELMAN, SBN 285177
23
                                           wedelman@delawllp.com
24                                         PATRICK R. DELAHUNTY, SBN 257439
                                           pdelahunty@delawllp.com
25
                                           Attorneys for Defendant OZY Media, Inc.
26
27
28

                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page ii of vii
                  Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 3 of 30



 1                                                     TABLE OF CONTENTS
 2   TABLE OF CONTENTS ............................................................................................................ iii

 3   TABLE OF AUTHORITIES .......................................................................................................iv
 4   INTRODUCTION ......................................................................................................................... 1
 5   BACKGROUND ............................................................................................................................ 2
 6
     ARGUMENT ................................................................................................................................. 4
 7
     I.        LEGAL STANDARD FOR A MOTION TO DISMISS. ............................................... 4
 8
     II.       THE FAC FAILS TO STATE A CLAIM FOR FEDERAL SECURITIES FRAUD
 9             (FIRST, SECOND, AND THIRD CLAIMS). ................................................................. 4
10                   A. Legal Standard for a Section 10(b) Securities Claim. ........................................ 4
11                   B. The FAC Does Not Allege Any Actionable Omission with Particularity. ........ 6
12                        1. OZY Owed LifeLine No Affirmative Duty to Disclose
13                           the Alleged Omission. ....................................................................................... 6

14                        2. No Material Statement Was Rendered False or Misleading by
                             the Alleged Omission. ....................................................................................... 8
15
                     C. The FAC Fails to Allege Scienter with Particularity. ...................................... 15
16
                     D. The FAC Fails to Allege Reliance upon the Alleged Omission
17                      with Particularity................................................................................................. 19
18
                     E. The FAC Fails to Allege Economic Loss and Loss Causation
19                      with Particularity................................................................................................. 21

20   III.      THE FAC’S FAILURE TO STATE A CLAIM FOR FEDERAL SECURITIES
               FRAUD DOOMS ITS CLAIMS FOR FRAUD UNDER CALIFORNIA STATE
21             LAW (FOURTH, FIFTH, SIXTH, AND SEVENTH CLAIMS). ............................... 22
22   CONCLUSION ............................................................................................................................ 23
23
24
25
26
27
28

                                                                              Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                                                 Case No. 21-cv-07751-BLF, Page iii of vii
                  Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 4 of 30



 1                                                  TABLE OF AUTHORITIES
 2   Cases
 3   Ambassador Hotel Co. v. Wei–Chuan Inv.,
       189 F.3d 1017 (9th Cir. 1999)................................................................................................... 21
 4
     ATSI Commc’ns, Inc. v. Shaar Fund, Ltd.,
 5     493 F.3d 87 (2d Cir. 2007) .................................................................................................. 13, 20
 6
     Basic Inc. v. Levinson,
 7     485 U.S. 224 (1988) ................................................................................................................... 6

 8   Brody v. Transitional Hospitals Corp.,
       280 F.3d 997 (9th Cir. 2002)..................................................................................................... 14
 9
10   Carte Blanche (Singapore) PTE., Ltd. v. Diners Club Int’l, Inc.,
       758 F. Supp. 908 (S.D.N.Y. 1991) ............................................................................................ 10
11
     City of Roseville Emp. Ret. Sys. v. Sterling Fin. Corp.,
12      691 F. App’x 393 (9th Cir. 2017) (unpublished) ...................................................................... 17
13
     Desai v. Deutsche Bank Sec. Ltd.,
14     573 F.3d 931 (9th Cir. 2009) (per curiam) ..................................................................... 6, 19, 21

15   Dover Ltd. v. A.B. Watley, Inc.,
       423 F. Supp. 2d 303 (S.D.N.Y. 2006) ....................................................................................... 10
16
     Donovan v. Flamingo Palms Villas, LLC,
17
       No. 208CV01675RCJRJJ, 2009 WL 10693913 (D. Nev. June 23, 2009) ................................ 23
18
     Dresner v. Utility.com, Inc.,
19     371 F. Supp. 2d 476 (S.D.N.Y. 2005) ....................................................................................... 13
20   Dura Pharms., Inc. v. Broudo,
21     544 U.S. 336 (2005) ............................................................................................................ 21, 22

22   ESG Capital Partners, LP v. Stratos,
       No. CV 13-01639 ODW(SHX), 2013 WL 12131355 (C.D. Cal. June 26, 2013) .................... 20
23
     Emergent Capital Inv. Mgmt. v. Stonepath Grp.,
24     343 F.3d 189 (2d Cir. 2003) ...................................................................................................... 13
25
     Glazer Cap. Mgmt., LP v. Magistri,
26     549 F.3d 736 (9th Cir. 2008)......................................................................................... 16, 17, 19

27   Goel v. Jain,
       259 F. Supp. 2d 1128 (W.D. Wash. 2003) ................................................................................. 7
28

                                                                              Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                                                 Case No. 21-cv-07751-BLF, Page iv of vii
                 Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 5 of 30



 1   Greenhouse v. MCG Capital Corp.,
       392 F.3d 650 (4th Cir. 2004)..................................................................................................... 13
 2
     Hayley v. Parker,
 3
       No. Civ.01–0069, 2002 WL 925322 (C.D. Cal. Mar 15, 2002) ............................................... 16
 4
     Hollinger v. Titan Capital Corp.,
 5     914 F.2d 1564 (9th Cir. 1990)..................................................................................................... 9
 6   In re 2TheMart.com, Inc. Sec. Litig.,
        114 F. Supp. 2d 955 (C.D. Cal. 2000) ...................................................................................... 17
 7
 8   In re Enron Corp. Sec., Derivative & “Erisa” Litig.,
        No. CIV.A. H-01-3624, 2003 WL 230688 (S.D. Tex. Jan. 28, 2003) ........................................ 9
 9
     In re Gilead Scis. Sec. Litig.,
10      536 F.3d 1049 (9th Cir. 2008)..................................................................................................... 4
11
     In re Quality Sys., Inc. Sec. Litig.,
12      865 F.3d 1130, 1146 (9th Cir. 2017)................................................................................... 15, 16

13   In re Rigel Pharms., Inc. Sec. Litig.,
        697 F.3d 869 (9th Cir. 2012)................................................................................................. 6, 18
14
15   In re Silicon Graphics Inc. Sec. Litig.,
        183 F.3d 970 (9th Cir. 1999)..................................................................................................... 15
16
     Irving Firemen’s Relief & Ret. Fund v. Uber Techs., Inc.,
17      998 F.3d 397 (9th Cir. 2021)..................................................................................................... 21
18   Jackson v. Fischer,
19      931 F. Supp. 2d 1049 (N.D. Cal. 2013) ............................................................................. 22, 23

20   Lipton v. Pathogenesis Corp.,
        284 F.3d 1027 (9th Cir. 2002)............................................................................................. 18, 19
21
     Lopez v. CTPartners Executive Search Inc.,
22
       173 F. Supp. 3d 12 (S.D.N.Y. 2016) ......................................................................................... 13
23
     Mar. Asset Mgmt., LLC v. NeurogesX, Inc.,
24     No. 12-CV-5034 YGR, 2013 WL 5442394 (N.D. Cal. Sept. 30, 2013) ................................... 19

25   Matrixx Initiatives, Inc. v. Siracusano,
       563 U.S. 27 (2011) ........................................................................................................ 5, 6, 8, 16
26
27   Metzler Inv. GMBH v. Corinthian Colleges, Inc.,
       540 F.3d 1049 (9th Cir. 2008)............................................................................................ passim
28

                                                                             Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                                                 Case No. 21-cv-07751-BLF, Page v of vii
                  Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 6 of 30



 1   Mohebbi v. Khazen,
       50 F. Supp. 3d 1234 (N.D. Cal. 2014) ...................................................................................... 22
 2
     Oracle Partners, L.P. v. Concentric Analgesics, Inc.,
 3
       No. 20-CV-03775-HSG, 2021 WL 2322351 (N.D. Cal. June 7, 2021) .................................... 21
 4
     Oregon Pub. Emps. Ret. Fund v. Apollo Grp. Inc.,
 5     774 F.3d 598 (9th Cir. 2014)................................................................................................. 5, 21
 6   Paracor Fin., Inc. v. Gen. Elec. Capital Corp.,
       96 F.3d 1151 (9th Cir. 1996)................................................................................................... 6, 7
 7
 8   Prodanova v. H.C. Wainwright & Co.,
       993 F.3d 1097 (9th Cir. 2021)................................................................................... 1, 16, 18, 19
 9
     Reese v. BP Exploration (Alaska) Inc.,
10     643 F.3d 681 (9th Cir. 2011)....................................................................................................... 4
11
     Resnik v. Swartz,
12     303 F.3d 147 (2d Cir. 2002) ........................................................................................................ 6

13   Retail Wholesale & Dep’t Store Union Loc. 338 Ret. Fund v. Hewlett–Packard Co.,
       52 F. Supp. 3d 961 (N.D. Cal. 2014),
14     aff'd, 845 F.3d 1268 (9th Cir. 2017) ................................................................................... 12, 13
15
     Retail Wholesale & Dep’t Store Union Loc. 338 Ret. Fund v. Hewlett–Packard Co.,
16     845 F.3d 1268 (9th Cir. 2017) ............................................................................................... 8, 12

17   Ronconi v. Larkin,
       253 F.3d 423 (9th Cir. 2001)..................................................................................................... 16
18
19   Rowe v. Maremont Corp.,
       850 F.2d 1226 (7th Cir. 1988)................................................................................................... 19
20
     Rubke v. Capitol Bancorp Ltd.,
21     551 F.3d 1156 (9th Cir. 2009)............................................................................................. 14, 15
22
     Solomon v. Jacobson,
23     No. ED15CV01453VAPJPRX, 2016 WL 6023821 (C.D. Cal. July 6, 2016) ............................ 7

24   Stoneridge Inv. Partners, LLC v. Sci.–Atlanta,
        552 U.S. 148 (2008) .................................................................................................................. 19
25
     Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
26
       551 U.S. 308 (2007) ............................................................................................................ 15, 16
27
     Veal v. LendingClub Corp.,
28     No. 18-CV-02599-BLF, 2020 WL 3128909 (N.D. Cal. June 12, 2020),
       aff’d, No. 20-16603, 2021 WL 4281301 (9th Cir. Sept. 21, 2021) ............................................ 4
                                                                              Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                                                 Case No. 21-cv-07751-BLF, Page vi of vii
                  Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 7 of 30



 1   Veal v. LendingClub Corp.,
       423 F. Supp. 3d 785, 819 (N.D. Cal. 2019) .................................................................. 10, 16, 17
 2
     Wallack v. Idexx Labs., Inc.,
 3
       No. 11-cv-2996-GPC (KSC), 2013 WL 5206190 (S.D. Cal. 2013) ................................... 22, 23
 4
     Webb v. Solarcity Corp.,
 5     884 F.3d 844 (9th Cir. 2018)................................................................................................. 5, 15
 6   Wochos v. Tesla, Inc.,
       985 F.3d 1180 (9th Cir. 2021)............................................................................................... 4, 18
 7
 8   Zucco Partners, LLC v. Digimarc Corp.,
       552 F.3d 981 (9th Cir. 2009)................................................................................................. 4, 18
 9
10
11   Statutes, Rules, and Treatises
12   Cal. Corp. Code § 25401 ............................................................................................................... 22
13
     Fed. R. Civ. P. 9(b) .......................................................................................................... 1, 5, 21, 23
14
     Fed. R. Civ. P. 12(b)(6) ............................................................................................................... 1, 4
15
     Private Securities Litigation Reform Act,
16      Pub. L. 104–67, 109 Stat. 737
17      (codified as amended in scattered sections of 15 U.S.C.) .................................................. passim

18       15 U.S.C. § 78u–4(b)(1)........................................................................................................ 5, 14

19       15 U.S.C. § 78u–4(b)(2)(A) ...................................................................................................... 15
20   Restatement (Second) of Agency §§ 82, 83, 85, 219(1), 228 ................................................... 9, 10
21
     SEC Rule 10b–5, 17 C.F.R. § 240.10b–5 ........................................................................................ 5
22
     Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b) .................................... 5
23
24
25
26
27
28

                                                                               Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                                                 Case No. 21-cv-07751-BLF, Page vii of vii
              Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 8 of 30



 1          Pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil Procedure, Defendant
 2   Ozy Media, Inc. (“OZY,” “Ozy Media,” or “the Company”) moves to dismiss the First
 3   Amended Complaint (“FAC”) filed by Plaintiff LifeLine Legacy Holdings LLC (“LifeLine”)
 4   on October 26, 2021 [ECF No. 18].
 5                                          INTRODUCTION
 6          LifeLine’s barebones pleading could have been written by Rip Van Winkle; it reads as
 7   if the Private Securities Litigation Reform Act of 1995 (“PSLRA”), Pub. L. 104–67, 109 Stat.
 8   737 (codified as amended in scattered sections of 15 U.S.C.), was never passed, and 25 years of
 9   federal case law construing that statute’s “formidable” pleading requirements never happened.
10   See Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049, 1055 (9th Cir. 2008).
11   LifeLine does not make the slightest effort—even after amendment—to specify with the

12   necessary particularity material misrepresentations or omissions made to induce it to invest in
13   OZY. The PSLRA demands articulation of specific facts; instead, the FAC offers only
14   summaries and surmise. For these reasons alone the FAC falls far short of the strict standard
15   required of securities fraud claims and must be dismissed.
16          But LifeLine’s theory of liability is also fatally flawed insofar as it attempts—without a
17   shred of evidence—to extrapolate a concerted fraud on LifeLine from one isolated act of

18   misconduct by a senior executive at OZY in a due diligence call with another potential investor,
19   Goldman Sachs. The FAC offers no facts to establish that representations made to LifeLine
20   were false or fraudulent, or to support a cogent and compelling theory of fraudulent intent. The
21   Ninth Circuit has warned against such leaps of logic. An “apparent error—even an
22   embarrassing, or inexplicable one—does not establish fraudulent intent.” Prodanova v. H.C.
23   Wainwright & Co., LLC, 993 F.3d 1097, 1107 (9th Cir. 2021). As further demonstrated herein,
24   the FAC should be dismissed.
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                                                        Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 1 of 23
                Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 9 of 30



 1                                           BACKGROUND1
 2             OZY is a digital media company founded in 2013 by Carlos Watson and Samir Rao.
 3   FAC ¶¶ 11–13. The Company to this date is privately held, and has its principal place of
 4   business in California. Id. ¶ 10. At all times relevant to the allegations of the FAC, Watson
 5   served as OZY’s Chief Executive Officer while Rao served as Chief Operating Officer. Id.
 6   ¶ 4. In 2020 and 2021, OZY was in the process of raising capital to fund expansion of its
 7   operations. Among those entities interested in the Company were Goldman Sachs
 8   (“Goldman”) and LifeLine.
 9             In February 2021, Goldman was actively engaged in exploring an investment in OZY.
10   See FAC ¶¶ 14–15. According to the FAC, however, during a Goldman due diligence call on
11   February 2, 2021, Defendant Rao “impersonated an executive of YouTube and

12   misrepresented viewership of Ozy Media programming shown on YouTube.” Id. ¶ 6. The
13   FAC does not allege that representatives of any other investors were present on this call.
14   Ultimately, Goldman chose not to invest, see id. ¶ 14; according to the FAC, it was because
15   Goldman had learned of the impersonation. Id. ¶¶ 6, 14.
16             During this same period of time, LifeLine was also conducting its own due diligence
17   in contemplation of a potential investment in OZY. According to the FAC, LifeLine was in

18   communication with Company representatives on February 10, 14, 15, 16, 17, and 18, 2021.
19   As alleged, during a telephone call on February 15, 2021, Watson informed LifeLine that
20   Goldman had decided against investing. FAC ¶ 14. The FAC alleges that neither Watson
21   nor Rao explained to LifeLine the reason why Goldman declined to invest. However, the
22   FAC does not state that LifeLine ever asked for an explanation. See id.
23             Even after learning of Goldman’s decision not to invest, LifeLine continued to
24   engage in further communications with the Company and ultimately decided to go forward
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26   1
         Solely for purposes of this motion, OZY assumes any well-pled allegations in the FAC to be
27
     true. OZY reserves its right to dispute all of the facts alleged in the FAC should the matter
28
     proceed past the complaint stage.
                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                              Case No. 21-cv-07751-BLF, Page 2 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 10 of 30



 1   with its own investment. On or about February 24, 2021, LifeLine entered into a Series C
 2   Stock Purchase Agreement (“Series C SPA”) pursuant to which it agreed to purchase
 3   approximately $2 million of Series C Preferred Shares in OZY. Id. ¶ 15.
 4          Months later, on or about May 13, 2021, LifeLine entered into a Series D Stock
 5   Purchase Agreement (“Series D SPA”) pursuant to which LifeLine purchased an additional
 6   $250,000 of Series D Preferred Shares in OZY. Id. ¶ 19.
 7          Both the Series C and D SPAs (collectively, the “SPAs”), attached as Exhibits B and
 8   C to the Declaration of William J. Edelman (“Edelman Decl.”), submitted concurrently
 9   herewith, were signed by Watson on behalf of OZY and represented that “to the Company’s
10   knowledge, the Company is not in violation of any federal or state statute, rule or regulation
11   applicable to the Company.” See Series C SPA ¶ 3.11; Series D SPA ¶ 3.11. Each of the

12   SPAs also included integration clauses that stated, “[n]o party shall be liable or bound to any
13   other party in any manner with regard to the subjects hereof . . . by any warranties,
14   representations or covenants except as specifically set forth herein . . . .” See Series C SPA
15   ¶ 7.8; Series D SPA ¶ 7.8.
16          In late September 2021, the New York Times published an article that publicly
17   disclosed the February 2, 2021 incident involving Rao and Goldman. The article also

18   reported that Google had informed the Federal Bureau of Investigation about the incident,
19   and that Goldman had received an inquiry from federal law enforcement. See FAC ¶ 26; Ben
20   Smith, Goldman Sachs, Ozy Media and a $40 Million Conference Call Gone Wrong, N.Y.
21   Times (Sept. 26, 2021) (updated Nov. 3, 2021) (attached as Exhibit A to the Edelman Decl.).
22   This lawsuit followed shortly thereafter.
23          On October 4, 2021, LifeLine filed a twelve-page Complaint alleging five claims for
24   relief against OZY and Rao. [ECF No. 1]. LifeLine subsequently amended the Complaint,
25   filing the FAC on October 26, 2021. [ECF No. 18]. The gravamen of the FAC is that
26   Defendants allegedly committed fraud against LifeLine by failing to disclose the details of
27   the February 2, 2021 incident involving Rao and Goldman prior to LifeLine’s investments in
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                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 3 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 11 of 30



 1   the Series C and Series D rounds. Based on this allegedly material omission, the FAC asserts
 2   fraud claims under the federal securities law, state securities law, and state common law.
 3                                             ARGUMENT
 4          I.      LEGAL STANDARD FOR A MOTION TO DISMISS.
 5          In assessing a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil
 6   Procedure, a court “accepts as true all well-pled factual allegations and construes them in the
 7   light most favorable to the plaintiff.” Veal v. LendingClub Corp., No. 18-CV-02599-BLF,
 8   2020 WL 3128909, at *4 (N.D. Cal. June 12, 2020) (citing Reese v. BP Exploration (Alaska)
 9   Inc., 643 F.3d 681, 690 (9th Cir. 2011)), aff’d, No. 20-16603, 2021 WL 4281301 (9th Cir.
10   Sept. 21, 2021). The court may also consider “‘materials incorporated into the complaint by
11   reference’ and any ‘matters of which [the court] may take judicial notice.’” Wochos v. Tesla,

12   Inc., 985 F.3d 1180, 1185 (9th Cir. 2021) (quoting Zucco Partners, LLC v. Digimarc Corp.,
13   552 F.3d 981, 989 (9th Cir. 2009)). Thus, the court need not “accept as true allegations that
14   contradict matters properly subject to judicial notice” or “allegations that are merely
15   conclusory, unwarranted deductions of fact, or unreasonable inferences.” Veal, 2020 WL
16   3128909, at *4 (quoting In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008)).
17          II.     THE FAC FAILS TO STATE A CLAIM FOR FEDERAL SECURITIES
18                  FRAUD (FIRST, SECOND, AND THIRD CLAIMS).

19                  A. Legal Standard for a Section 10(b) Securities Claim.

20          Section 10(b) of the Securities Exchange Act of 1934 makes it “unlawful for any

21   person, directly or indirectly, by the use of any means or instrumentality of interstate

22   commerce or of the mails . . . [t]o use or employ, in connection with the . . . sale of any

23   [registered or unregistered] security . . . any manipulative or deceptive device or contrivance”

24   that violates rules and regulations prescribed by the Securities and Exchange Commission

25   (“SEC”). 15 U.S.C. § 78j(b). Rule 10b–5 further provides that it is unlawful,

26          directly or indirectly, by the use of any means or instrumentality of interstate
            commerce, or of the mails or of any facility of any national securities exchange,
27          (a) To employ any device, scheme, or artifice to defraud, (b) To make any untrue
            statement of a material fact or to omit to state a material fact necessary in order
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            to make the statements made, in the light of the circumstances under which they

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                              Case No. 21-cv-07751-BLF, Page 4 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 12 of 30



 1          were made, not misleading, or (c) To engage in any act, practice, or course of
            business which operates or would operate as a fraud or deceit upon any person,
 2          in connection with the purchase or sale of any security.
 3   17 C.F.R. § 240.10b-5.
 4          An investor who seeks to pursue a private cause of action under § 10(b) and Rule
 5   10b–5, must plead six elements: “(1) a material misrepresentation or omission by the
 6   defendant; (2) scienter; (3) a connection between the misrepresentation or omission and the
 7   purchase or sale of a security; (4) reliance upon the misrepresentation or omission;
 8   (5) economic loss; and (6) loss causation.” Webb v. Solarcity Corp., 884 F.3d 844, 850 (9th
 9   Cir. 2018) (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37–38 (2011)).
10          As to each of the foregoing elements, the complaint “must meet the higher, exacting
11   pleading standards of Federal Rule of Civil Procedure 9(b) and the Private Securities
12   Litigation Reform Act (PSLRA).” Oregon Pub. Emps. Ret. Fund v. Apollo Grp. Inc., 774
13   F.3d 598, 604 (9th Cir. 2014). Rule 9(b) generally “requires that ‘[i]n alleging fraud or
14   mistake, a party must state with particularity the circumstances constituting fraud or
15   mistake.’” Id. (quoting Fed. R. Civ. P. 9(b)). The PSLRA demands further that a federal
16   securities complaint “shall specify each statement alleged to have been misleading, the
17   reason or reasons why the statement is misleading, and, if an allegation regarding the
18   statement or omission is made on information and belief, the complaint shall state with
19   particularity all facts on which that belief is formed.” Metzler Inv. GMBH v. Corinthian
20   Colleges, Inc., 540 F.3d 1049, 1061 (9th Cir. 2008) (quoting 15 U.S.C. § 78u–4(b)(1)). The
21   Ninth Circuit has expressly warned against complaints “laden with vague allegations of
22   deception unaccompanied by a particularized explanation stating why the defendant’s alleged
23   statements or omissions are deceitful.” Id. (citation omitted).
24          As explained more fully herein, the FAC does not allege the elements for a claim
25   under § 10(b) and Rule 10b–5 with the particularity required by Rule 9(b) and the PSLRA.
26   The First through Third Claims should therefore be dismissed for failure to meet the exacting
27   standard required to state a claim for federal securities fraud.
28

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                              Case No. 21-cv-07751-BLF, Page 5 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 13 of 30



 1                  B. The FAC Does Not Allege Any Actionable Omission with Particularity.
 2          LifeLine’s primary theory of liability in this case is fraud by omission. The securities
 3   laws treat omissions differently from affirmative representations. For LifeLine to prevail on its
 4   omission theory, it must plead either: (1) OZY had an affirmative duty to disclose the details of
 5   the Rao and Goldman incident to LifeLine prior to LifeLine’s investments; or (2) OZY’s failure
 6   to disclose details of the incident rendered false or misleading some other material statement
 7   OZY made to LifeLine. The FAC does neither and thus fails to state any actionable omission.
 8
                        1. OZY Owed LifeLine No Affirmative Duty to Disclose the Alleged
 9                         Omission.

10          Section 10(b) and Rule 10b–5 “do not create an affirmative duty to disclose any and

11   all material information.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011); see

12   also Basic Inc. v. Levinson, 485 U.S. 224, 239 n.17 (1988) (“Silence, absent a duty to

13   disclose, is not misleading under Rule 10b–5.”). “Disclosure of . . . information is not

14   required . . . simply because it may be relevant or of interest to a reasonable investor.”

15   Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002); see also In re Rigel Pharms., Inc. Sec.

16   Litig., 697 F.3d 869, 881 (9th Cir. 2012) (“[E]ven if some investors might have wanted more

17   extensive information . . . , that would not be sufficient to make the alleged original

18   statements false or misleading.”). For an alleged omission to be actionable under § 10(b) and

19   Rule 10b–5, “[t]he person who omitted the material information must have had a duty to

20   disclose it to the person supposedly harmed by the omission.” Desai v. Deutsche Bank Sec.

21   Ltd., 573 F.3d 931, 939 (9th Cir. 2009) (per curiam) (citing Paracor Fin., Inc. v. Gen. Elec.

22   Capital Corp., 96 F.3d 1151, 1157 (9th Cir. 1996)).

23          In its Seventh Claim for Relief under California common law, the FAC alleges in

24   conclusory fashion: “Pursuant to the Stock Repurchase [sic] Agreements, a fiduciary and

25   confidential relationship existed between Defendants, and each of them, and Plaintiff.” FAC

26   ¶ 61. Curiously, the FAC does not expressly allege a fiduciary relationship between OZY

27   and LifeLine in connection with any of the claims for federal securities fraud. See generally

28   id. ¶¶ 1–44. In any event, such perfunctory and conclusory allegations fail as a matter of law.

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                              Case No. 21-cv-07751-BLF, Page 6 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 14 of 30



 1          The SPAs that LifeLine entered into in connection with its investments contain no
 2   provision establishing or recognizing a fiduciary duty between the parties. To the contrary,
 3   each of the SPAs contains a clause that states, in relevant part, that LifeLine “has substantial
 4   experience in evaluating and investing in [similar transactions],” “can protect its own
 5   interests,” and “is capable of evaluating the merits and risks of its investment in the
 6   Company.” See Series C SPA ¶ 4.3; Series D SPA ¶ 4.3; Solomon v. Jacobson, No.
 7   ED15CV01453VAPJPRX, 2016 WL 6023821, at *5–6 (C.D. Cal. July 6, 2016) (stock
 8   purchase agreement did not show fiduciary relationship existed during negotiations absent
 9   evidence of “a special trust in another or a special duty . . . between parties rising to the level
10   that the relationship connotes a dependence” (citation omitted)).
11          Nor does the FAC allege one single fact or circumstance that would support a

12   relationship of special trust between the parties sufficient to independently give rise to such a
13   fiduciary duty. Instead, the FAC references a careful due diligence process between two
14   companies—including at least eight distinct communications between LifeLine and OZY’s
15   principals, see FAC ¶¶ 14, 18—leading to the signing of two formal investment contracts, the
16   Series C SPA and the Series D SPA. Id. ¶¶ 15, 19. The SPAs themselves also reflect that the
17   parties were represented or had the opportunity to be represented by independent legal

18   counsel. See Series C SPA ¶ 7.18; Series D SPA ¶ 7.18.
19          The only reasonable inference from these facts is that the investments LifeLine made
20   in OZY were the result of arms-length transactions between two independent and
21   sophisticated business entities. And, as the Ninth Circuit has explained, “parties to an
22   impersonal market transaction owe no duty of disclosure to one another absent a fiduciary or
23   agency relationship, prior dealings, or circumstances such that one party has placed trust and
24   confidence in the other.” Paracor, 96 F.3d at 1157 (citation omitted); see also Goel v. Jain,
25   259 F. Supp. 2d 1128, 1137 (W.D. Wash. 2003) (no fiduciary relationship where, among
26   other things, “each side was responsible for its own due diligence and could terminate the
27   relationship if their investigation showed that the deal was not in their best interests”).
28

                                                           Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                               Case No. 21-cv-07751-BLF, Page 7 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 15 of 30



 1          The stark absence here of any specific allegations demonstrating a relationship of
 2   special trust between OZY and LifeLine compels the conclusion that LifeLine has failed to
 3   establish any affirmative duty to disclose on the part of OZY.
 4
                        2. No Material Statement Was Rendered False or Misleading by the
 5                         Alleged Omission.
 6          Absent an independent duty to inform LifeLine of the details of the February 2, 2021
 7   incident involving Rao and Goldman, the alleged omission is not actionable unless the failure
 8   to disclose the information rendered false or misleading some other affirmative material
 9   statement by one of the Defendants. As the Supreme Court has held, “[d]isclosure is
10   required . . . only when necessary ‘to make . . . statements made, in light of the circumstances
11   under which they were made, not misleading.’” Matrixx Initiatives, 563 U.S. at 44 (second
12   alteration in original) (quoting 17 C.F.R. § 240.10b–5(b)); see Retail Wholesale & Dep’t
13   Store Union Loc. 338 Ret. Fund v. Hewlett–Packard Co., 845 F.3d 1268, 1278 (9th Cir.
14   2017) (where a statement is not material in the first place, no omission regarding such
15   statement can be material).
16          In seeking to support its fraud-by-omission theory, LifeLine points to two sets of
17   alleged affirmative representations: (a) the standard warranties in the SPAs regarding the
18   Company’s general compliance with laws and regulations; and (b) purported oral
19   representations made by Watson and Rao to LifeLine during the due diligence process. As
20   explained below, the FAC fails to articulate how any of these representations were material
21   and/or rendered false or misleading by omission of the Rao and Goldman incident.
22                           a. The SPA Warranties
23          The only affirmative representation that LifeLine pleads with any degree of
24   particularity is the standard boilerplate warranty in both the Series C and Series D SPAs that,
25   “to the Company’s knowledge, the Company is not in violation of any federal or state statute,
26   rule or regulation applicable to the Company.” FAC ¶ 14. To properly plead falsity,
27   however, a plaintiff must allege specific facts demonstrating and explaining how such
28   warranties were deceitful. See Metzler, 540 F.3d at 1061. LifeLine has failed to do so.

                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 8 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 16 of 30



 1          The FAC’s theory is founded entirely on the naked assumption that the isolated
 2   incident with Goldman translated into a violation of law by the Company and by implication
 3   a fraud on LifeLine. That is wrong for at least three reasons. First, the FAC assumes without
 4   support that Rao was acting within the scope of his employment with OZY in attempting to
 5   impersonate a YouTube executive, and that his conduct could therefore be imputed to the
 6   Company. Second, the existence of a government investigation does not equate to a violation
 7   of law. And, finally, any adverse impact on the Company’s reputation arising from the later
 8   disclosure of the Rao incident by the press does nothing to prove that the warranties in the
 9   SPAs were false at the time they were made.
10          The FAC does not attempt to explain how Rao’s exceptional and ultra vires conduct
11   impersonating an executive from another company (YouTube) could legally be imputed to

12   OZY as conduct within the scope of his employment. See Hollinger v. Titan Capital Corp.,
13   914 F.2d 1564, 1576–78 (9th Cir. 1990) (imputation to company under federal securities
14   laws premised on common law of agency and respondeat superior). Another federal district
15   court has noted the multiplicity of factors that must be considered before reaching a
16   conclusion of respondeat superior in the federal securities law context:
17          Whether the act was within the scope of an individual’s employment depends on
            such factors as the time, place and purpose of the act, the similarity of the act to
18          others that the servant is authorized to perform, whether the act is generally
            performed by servants, the degree the servant departed from usual methods, and
19
            whether the master might reasonably expect the servant to perform the act.
20   In re Enron Corp. Sec., Derivative & “Erisa” Litig., No. CIV.A. H-01-3624, 2003 WL
21   230688, at *7 n.16 (S.D. Tex. Jan. 28, 2003); see also id. (citing Restatement (Second) of
22   Agency §§ 219(1), 228). LifeLine has not begun to make such a showing in its pleading.
23   Nor could it readily do so; impersonating an executive from another company is by definition
24   an act outside the scope of one’s authority, and, moreover, suggests an extreme and
25   unanticipated departure from “usual methods.”
26          Absent a showing that Rao acted within the scope of his employment when
27   attempting to impersonate an executive from YouTube, LifeLine would alternatively have to
28   demonstrate that Rao’s improper conduct was nonetheless ratified and/or endorsed by OZY.

                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 9 of 23
                Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 17 of 30



 1   See Dover Ltd. v. A.B. Watley, Inc., 423 F. Supp. 2d 303, 318 (S.D.N.Y. 2006) (“Even in the
 2   absence of actual or apparent authority, a person may still be liable as a principal if he
 3   affirms or ratifies ‘an act done by one who purports to be acting for the ratifier.’” (quoting
 4   Carte Blanche (Singapore) PTE., Ltd. v. Diners Club Int’l, Inc., 758 F. Supp. 908, 921
 5   (S.D.N.Y. 1991) (citing Restatement (Second) of Agency §§ 82, 83, 85))). Once again, the
 6   FAC fails to allege with particularity any such thing. Instead, the only reasonable inference
 7   supported by the allegations of the FAC is that the Rao impersonation was an isolated
 8   incident that was immediately acknowledged and addressed by the Company, leading
 9   Goldman to decline to invest and Watson to inform other investors such as LifeLine about
10   Goldman’s decision. LifeLine’s failure to plead the elements of respondeat superior are
11   enough to doom its theory of a violation of law by the Company.

12          The FAC fares no better in attempting to bootstrap its claim of falsity by pointing to
13   the existence of government investigations allegedly commenced at the time the SPAs were
14   signed in February and May of 2021. First, the FAC fails to establish that any government
15   investigation began before LifeLine signed the SPAs, or, if there were any such investigation,
16   that OZY had any knowledge of it.2 But second, and most important, the mere existence of a
17   government investigation does not prove that the SPA warranties were false. Metzler, 540

18   F.3d at 1071; see Veal v. LendingClub Corp., 423 F. Supp. 3d 785, 806 (N.D. Cal. 2019)
19   (“the mere existence of an FTC investigation . . . does not mean that . . . [the] conduct
20   [eventually alleged in the FTC Action] violated FTC rules”). To date, as LifeLine tacitly
21   concedes, no charges have been brought against the Company, and even if they had been, no
22   violation has been proved.
23          The allegations here parallel those that the Ninth Circuit confronted and dismissed in
24   Metzler. In that case the plaintiff had purchased stock in Corinthian Colleges, Inc., a
25
26          2
                Contrary to LifeLine’s allegations, Watson did not acknowledge during an October 5,
27
     2021 radio interview “that government agency investigations of the company’s and Rao’s
28
     actions had been initiated” by the time of LifeLine’s investment decisions. See FAC ¶ 22.
                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 10 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 18 of 30



 1   consortium of 88 colleges in 22 states. Plaintiff alleged that the Corinthian College system
 2   was pervaded with fraud, and that the College’s stated financial results in its public
 3   disclosures were false and misleading. To support its claim, plaintiff pointed to two facts
 4   that had not been disclosed to investors: (i) that the Department of Education had
 5   commenced an investigation in December 2003 into Corinthian’s Bryman College Campus;
 6   and (ii) that findings of that investigation revealed “that school officials had helped students
 7   manipulate financial aid documents to obtain the maximum possible toward tuition fees—
 8   breaching Title IV of the Higher Education Act.” 540 F.3d at 1057. This investigation and
 9   its negative findings were not reported in the company’s fourth quarter 2003 or first quarter
10   2004 SEC filings. Id. The details only came to light months later in a Financial Times
11   article on June 24, 2004. A subsequent company press release issued on August 2, 2004,

12   further revealed that the California Attorney General had also commenced an investigation
13   and that the company had adjusted its revenue forecast, based on, among other things,
14   “higher than anticipated attrition” rates at the schools. Once the news of these two
15   investigations broke, Corinthian’s stock lost 45% of its value. Id. at 1059.
16           Despite the magnitude of these two government investigations into the Corinthian
17   Colleges, however, the Ninth Circuit ultimately found no securities violation for omission of

18   this information from the company’s quarterly reports. The Ninth Circuit held that neither
19   the existence of two investigations nor the discovery of financial improprieties at one of
20   Corinthian’s campuses (the Bryman campus) was sufficient to prove “widespread financial
21   aid manipulation” on a company-wide basis rendering all the company financials false. Id. at
22   1063. As the court of appeals held, “[t]he TAC does not allege that the June 24 and August 2
23   announcements disclosed—or even suggested—to the market that Corinthian was
24   manipulating student enrollment figures company-wide in order to procure excess federal
25   funding, which is the fraudulent activity that Metzler contends forced down the stock that
26   caused its losses. Neither the June 24 Financial Times story nor the August 2 press release
27   regarding earnings can be reasonably read to reveal widespread financial aid manipulation by
28   Corinthian . . . .” Id.; see also id. at 1071 (allegations did not establish falsity).

                                                            Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                              Case No. 21-cv-07751-BLF, Page 11 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 19 of 30



 1          By the same token, in this case, the facts that (1) Rao may have acted improperly in a
 2   communication with Goldman, and that (2) government investigations later commenced as a
 3   result—as revealed in the New York Times article of September 2021—do not translate into
 4   widespread corporate malfeasance that directly affected LifeLine.
 5          Lacking any evidence of an actual violation of law by the Company, LifeLine
 6   attempts to argue that the impact that disclosure of the Rao incident subsequently had on the
 7   Company transformed the failure to disclose the incident to LifeLine into a material
 8   omission. According to the FAC, OZY, Watson, and Rao “knew, or should have known, that
 9   such conduct could cause substantial, even lethal, harm to the company and the interests of
10   its shareholders.” See FAC ¶ 23. Putting aside for a moment the impropriety under the
11   PSLRA of pleading what an officer “should have known,” this theory of fraud is flawed

12   because it alleges a set of circumstances that have no bearing whatsoever on the question
13   whether the Company committed any wrongdoing. Whatever whiff of scandal the New York
14   Times article may have stirred up, neither the article nor the reaction to it constitute proof of a
15   violation of the law by the Company.
16          This Court in particular has recognized that consequences that may arise due to
17   revelations of misconduct by a senior executive are not sufficient to establish material falsity.

18   In Retail Wholesale & Department Store Union Local 338 Retirement Fund v. Hewlett–
19   Packard Co., for example, this Court addressed Hewlett–Packard’s failure to disclose facts
20   about misconduct by its CEO, Mark Hurd, which led to his resignation. 52 F. Supp. 3d 961
21   (N.D. Cal. 2014), aff’d, 845 F.3d 1268 (9th Cir. 2017). Among the allegations against the
22   CEO were charges of sexual harassment, insider trading, and the submission of inaccurate
23   expense reports. In the immediate aftermath of the CEO’s departure under a cloud, the share
24   price of the company declined by 12.6%, and months later had lost some 69% of its value.
25   As one article summed up the incident, “it seems safe to say that Hurd’s departure from HP
26   has cost the company’s shareholders at least $10 billion and probably a lot more.” Id. at 967.
27   Despite these damning facts and severe consequences, the Court found no violation of the
28   securities laws: “Plaintiff’s theory of liability appears to be that a corporation or senior

                                                           Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 12 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 20 of 30



 1   executive is liable whenever that executive is involved in misconduct that might lead to his
 2   or her resignation or termination, regardless of the nature of that misconduct, unless the
 3   conduct is disclosed. But that is not the law.” Id. at 971.
 4          And the fact that the public may at a later point in time respond negatively to
 5   information omitted from disclosure does not mean that the omission thereby becomes
 6   actionable by hindsight. Hewlett–Packard, 52 F. Supp. 3d at 967; see also Lopez v.
 7   CTPartners Executive Search Inc., 173 F. Supp. 3d 12 (S.D.N.Y. 2016) (“that the market
 8   reacted adversely to the NY Post’s articles exposure of Sullivan’s naked romp and related
 9   failings at CTPartners does not, therefore, mean that the Company’s prior statements . . . are
10   actionable”); see also Greenhouse v. MCG Capital Corp., 392 F.3d 650, 656 (4th Cir. 2004)
11   (“the securities laws decidedly do not prohibit any misrepresentation—no matter how willful,

12   objectionable or flatly false—of immaterial facts, even if it induces reactions from investors
13   that, in hindsight or otherwise, make the representation appear material”).
14                            b. Alleged Oral Misrepresentations
15          Apart from the SPA warranties, the FAC relies on oral statements allegedly made to
16   LifeLine during the due diligence process to support its claim of fraud by omission. Once
17   again LifeLine oversteps its bounds. The SPAs include integration clauses that provide that

18   “[n]o party shall be liable or bound to any other party in any manner with regard to the
19   subjects hereof . . . by any warranties, representations or covenants except as specifically set
20   forth herein . . . .” Series C SPA ¶ 7.8; Series D SPA ¶ 7.8. Thus, at the time LifeLine
21   entered into the investment contracts, it expressly waived reliance on any statements other
22   than those contained in the SPAs. See, e.g., ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493
23   F.3d 87, 105 (2d Cir. 2007) (“Where the plaintiff is a sophisticated investor and an integrated
24   agreement between the parties does not include the misrepresentation at issue, the plaintiff
25   cannot establish reasonable reliance on that misrepresentation.” (citing Emergent Capital Inv.
26   Mgmt. v. Stonepath Grp., 343 F.3d 189, 196 (2d Cir. 2003); Dresner v. Utility.com, Inc., 371
27   F. Supp. 2d 476, 491–93 (S.D.N.Y. 2005))).
28

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 13 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 21 of 30



 1          Even were any oral representations made during the due diligence process
 2   theoretically actionable, the FAC does not plead that any affirmative representations made to
 3   LifeLine (let alone any material ones) were in fact false. The PSLRA requires that “the
 4   complaint shall specify each statement alleged to have been misleading, the reason or reasons
 5   why the statement is misleading, and, if an allegation regarding the statement or omission is
 6   made on information and belief, the complaint shall state with particularity all facts on which
 7   that belief is formed.” Metzler, 540 F.3d at 1061 (quoting 15 U.S.C. § 78u–4(b)(1))
 8   (emphasis added); see Brody v. Transitional Hospitals Corp., 280 F.3d 997, 1006 (9th Cir.
 9   2002) (“complaint must specify the reason or reasons why the statements made . . . were
10   misleading or untrue, not simply why the statements were incomplete”).
11          The FAC falls far short of this standard of specificity. Instead, the FAC makes only

12   the most summary references to “discussions” that LifeLine had with Watson and Rao on
13   February 10, 14, 15, 16, 17, and 19, 2021, in which Rao and Watson allegedly made
14   representations about “Ozy Media’s strong financial performance, seemingly impressive
15   viewership metrics and significant institutional investor interest.” See FAC ¶ 14. This
16   allegation fails to specify what precise statements were made in those discussions, and—
17   most important—what, if anything, was materially false and/or misleading about them, or

18   how they were rendered false or misleading by omission of the Goldman and Rao incident.
19          Doubling down on the innuendo and speculation that pervades its pleading, LifeLine
20   closes the FAC with the observation that it “suspects that additional illegal, improper or
21   otherwise inappropriate conduct occurred at the company prior to when LifeLine made its
22   investments that was not disclosed to LifeLine.” See FAC ¶¶ 25–26 (emphasis added).
23   Those allegations fail, because where allegations are made “on information and belief” the
24   PSLRA requires that the complaint must “state with particularity all facts on which that
25   belief is formed.” 15 U.S.C. § 78u–4(b)(1).
26          Indeed, the Ninth Circuit rejected similarly vague allegations in Rubke v. Capitol
27   Bancorp Ltd., 551 F.3d 1156 (9th Cir. 2009). In that case, Capitol Bancorp (“Capitol”) made
28   a tender offer to acquire Napa Community Bank (“NCB”). According to plaintiff, one of

                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                           Case No. 21-cv-07751-BLF, Page 14 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 22 of 30



 1   NCB’s board members—Dennis Pedisich—improperly attempted, at Capitol’s urging, to
 2   cajole NCB shareholders to accept the deal. Id. at 1165. The Ninth Circuit concluded that
 3   the allegation, “based only on ‘information and belief,’” failed “to allege with the requisite
 4   particularity that Pedisich called the minority shareholders at the behest of Capitol or its
 5   executive officers.” Id. at 1166. The court of appeals explained that plaintiff had “failed to
 6   reveal the sources of her information with regard to the telephone conversations, and [had]
 7   not otherwise described how she knows that Capitol ‘exhorted’ Pedisich to make the calls.”
 8   Id. (internal quotation marks and citation omitted); see also In re Silicon Graphics Inc. Sec.
 9   Litig., 183 F.3d 970, 985 (9th Cir. 1999) (“It is not sufficient for a plaintiff’s pleadings to set
10   forth a belief that certain unspecified sources will reveal, after appropriate discovery, facts
11   that will validate her claim.”), superseded by statute on other grounds as recognized in In re

12   Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1146 (9th Cir. 2017).
13           The FAC in paragraphs 25 and 26 does not identify the substance of such “otherwise
14   inappropriate conduct,” let alone the sources of information for such claims or how LifeLine
15   otherwise knows such claims to be true. The PLSRA does not countenance such speculative
16   and unfounded allegations that merely assume the worst.
17           In the final analysis, the FAC simply assumes what it needs to prove. But as the

18   Ninth Circuit has made clear, “this Circuit has consistently held that the PSLRA’s falsity
19   requirement is not satisfied by conclusory allegations that a company’s . . . statements
20   regarding its financial well-being are per se false based on the plaintiff’s allegations of fraud
21   generally.” See Metzler, at 1070–71 (collecting cases).
22                  C. The FAC Fails to Allege Scienter with Particularity.
23           Under the PSLRA, a complaint must “state with particularity facts giving rise to a
24   strong inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u–
25   4(b)(2)(A) (emphasis added). A “strong inference” is “more than merely plausible or
26   reasonable.” Webb v. Solarcity Corp., 884 F.3d 844, 850 (9th Cir. 2018) (quoting Tellabs,
27   Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007)). “Rather, a ‘strong inference’
28   is an inference that is ‘cogent and at least as compelling as any opposing inference one could

                                                           Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 15 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 23 of 30



 1   draw from the facts alleged.’” Id. (quoting Tellabs, 551 U.S. at 324). In assessing whether a
 2   complaint pleads a “strong” inference, the court must ask: “When the allegations are
 3   accepted as true and taken collectively, would a reasonable person deem the inference of
 4   scienter at least as strong as any opposing inference?” Id. (quoting Tellabs, 551 U.S. at 326)
 5   (citing Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 48–50 (2011)).
 6          As to the requisite state of mind, a plaintiff may plead scienter “by alleging facts
 7   demonstrating an ‘intent to deceive, manipulate, or defraud’ or ‘deliberate recklessness.’” Id.
 8   at 851 (quoting In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1144 (9th Cir. 2017)).
 9   Generally, a plaintiff is also required to assert a “plausible motive” to establish a strong
10   inference of scienter. See Prodanova v. H.C. Wainwright & Co., 993 F.3d 1097, 1108 (9th
11   Cir. 2021) (“Only where a complaint otherwise asserts compelling and particularized facts

12   showing fraudulent intent or deliberate recklessness will we overlook the failure to allege a
13   plausible motive.” (citations omitted)).
14          The allegations of the FAC do not create a strong inference of fraudulent intent on the
15   part of any of the Defendants. Given that the only theoretically actionable statements
16   rendered false or misleading by omission of the Rao incident are the warranties in the SPAs
17   signed by Carlos Watson, LifeLine’s theory of scienter turns solely on Watson’s state of

18   mind. See Glazer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 745 (9th Cir. 2008) (rejecting
19   “doctrine of collective scienter” that would “excuse[] [plaintiff] from pleading individual
20   scienter with respect to . . . legal warranties” in merger agreement that “warranted that the
21   company was in compliance ‘with all laws’”).
22          Furthermore, “any allegation of scienter must be specific to [defendant’s] state of
23   mind at the time she made the statements.” Veal v. LendingClub Corp., 423 F. Supp. 3d 785,
24   819 (N.D. Cal. 2019) (emphasis added); see also Metzler, 540 F.3d at 1066 (“[T]he
25   complaint must contain allegations of specific contemporaneous statements or conditions that
26   demonstrate the intentional or the deliberately reckless false or misleading nature of the
27   statements when made.” (citing Ronconi v. Larkin, 253 F.3d 423, 432 (9th Cir. 2001));
28   Hayley v. Parker, No. Civ.01–0069, 2002 WL 925322, at *3 (C.D. Cal. Mar. 15, 2002)

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 16 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 24 of 30



 1   (plaintiff must establish “the defendant’s scienter at the time of the misrepresentation or
 2   omission”); In re 2TheMart.com, Inc. Sec. Litig., 114 F. Supp. 2d 955, 959 (C.D. Cal. 2000)
 3   (same). Here, the FAC alleges no facts whatsoever showing that Watson, even if he was
 4   aware of Rao’s conduct and its alleged impact on Goldman, knew or believed when he
 5   signed the SPAs that the Company had acted in violation of the law.
 6          LifeLine hangs its hat on the unsupported insinuation that a government investigation
 7   had commenced by the time Watson signed the SPAs. See FAC ¶ 24. Even if true, such a
 8   fact is insufficient in and of itself to establish a fraudulent state of mind on Watson’s or
 9   OZY’s part. As this Court has recognized, “the mere existence of [a government]
10   investigation . . . does not mean that Defendants were aware . . . that [certain] conduct
11   violated [regulatory] rules.” See Veal, 423 F. Supp. 3d at 806. To make a credible claim of

12   fraudulent intent in these circumstances, a plaintiff must first establish (1) when the
13   government investigation began; (2) what the substance of that investigation was; and (3) if
14   and when the government informed the Defendant—here, Watson—that the Company was in
15   violation of the law for the conduct alleged. See id. LifeLine does none of this.
16          Implicitly acknowledging that the Rao incident did not in and of itself render the SPA
17   warranties false at the time the SPAs were signed, LifeLine resorts to further pleading by

18   hindsight. According to the FAC, Watson and Rao “knew, or should have known, that such
19   conduct could cause substantial, even lethal, harm to the company and the interests of its
20   shareholders.” See FAC ¶ 23. Conclusory statements about what an officer or director
21   “should have known” are insufficient to pass muster under the PSLRA. See Glazer, 549 F.3d
22   at 748 (“[I]nference that [executive] should have known of the violations . . . is not sufficient
23   to meet the stringent scienter pleading requirements of the PSLRA.” (citation omitted)); see
24   also City of Roseville Emp. Ret. Sys. v. Sterling Fin. Corp., 691 F. App’x 393, 394 (9th Cir.
25   2017) (unpublished) (argument that executive “must have known” of falsity of statements “is
26   entirely speculative and does not rise to the required strong inference”).
27          In addition, this allegation is not even about Watson’s knowledge of facts at the time
28   he signed the SPAs. Rather, it is about what Watson should have been able to predict about

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 17 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 25 of 30



 1   the future. This is pure speculation. Moreover, it is speculation about the wrong
 2   circumstances. As noted, supra, whatever harm the Rao incident may have caused to the
 3   Company’s reputation after public disclosure in the New York Times article, it does not
 4   logically follow that the Company violated the law, that Watson understood that the
 5   Company violated the law at the time that he signed the SPAs, and that the warranties were
 6   therefore false at the time they were provided to LifeLine.
 7          In a final effort to shore up its paltry presentation, LifeLine further points to
 8   statements made by Watson—long after LifeLine’s investments—during a radio interview on
 9   October 5, 2021. See FAC ¶ 22; see also Wochos v. Tesla, Inc., 985 F.3d 1180, 1185 (9th
10   Cir. 2021) (noting that in assessing a motion to dismiss the court may consider “materials
11   incorporated into the complaint by reference” (quoting Zucco Partners, LLC v. Digimarc

12   Corp., 552 F.3d 981, 989 (9th Cir. 2009)). Such statements are not actionable in and of
13   themselves as LifeLine could never have relied on them in entering into the SPAs months
14   earlier, in February and May 2021. And, in any event, the FAC mischaracterizes those
15   statements. For example, Watson did not “admit[]” during the interview that OZY, “through
16   Rao, engaged in unlawful and, more specifically, fraudulent conduct during the telephone
17   call with Goldman Sachs on February 2, 2021.” See FAC ¶ 22.

18          The FAC also fails to establish a plausible motive insofar as it sets forth no
19   compelling theory of pecuniary interest on the part of either Watson or Rao. The Ninth
20   Circuit has made clear that “allegations of routine corporate objectives such as the desire to
21   obtain good financing and expand are not, without more, sufficient to allege scienter; to hold
22   otherwise would support a finding of scienter for any company that seeks to enhance its
23   business prospects.” In re Rigel Pharms., Inc. Sec. Litig., 697 F.3d 869, 884 (9th Cir. 2012)
24   (citing Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1038 (9th Cir. 2002)); see also
25   Prodanova, 993 F.3d at 1107 (“Generally, we expect that a financial motive for securities
26   fraud will be clear; for example, someone inside a company stands to gain a substantial profit
27   by engaging in deceptive behavior, such as selling shares before the company discloses
28   negative information.”); Zucco Partners, 552 F.3d at 1005 (“If simple allegations of

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 18 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 26 of 30



 1   pecuniary motive were enough to establish scienter, ‘virtually every company in the United
 2   States that experiences a downturn in stock price could be forced to defend securities fraud
 3   actions.’” (quoting Lipton, 284 F.3d at 1038)); Glazer, 549 F.3d at 748 (personal profit
 4   motive that is present in almost every corporate transaction favoring the company is
 5   insufficient to establish scienter); Mar. Asset Mgmt., LLC v. NeurogesX, Inc., No. 12-CV-
 6   5034 YGR, 2013 WL 5442394, at *7 (N.D. Cal. Sept. 30, 2013) (concluding that, absent
 7   allegations of personal profit motive on part of executive, allegedly false statements “made
 8   [by executive] specifically to investors who were considering entering into the SPA to
 9   provide an infusion of capital to the Company” did not establish scienter).
10          To simply argue that Watson hid the Rao incident from LifeLine to induce an
11   investment in the Company does not meet the stringent scienter standards of the PSLRA. In

12   any event, the facts as alleged support a more compelling and innocent inference: that
13   Watson acted in the best interests of the Company and risked losing the LifeLine investment
14   by disclosing to LifeLine the fact that Goldman had declined to invest.
15          In sum, the FAC attempts to weave a theory of fraud around a single unfortunate
16   incident at the Company. But, as the Ninth Circuit has recognized, an “apparent error—even
17   an embarrassing, or inexplicable one—does not establish fraudulent intent.” Prodanova, 993

18   F.3d at 1107.
19
                     D. The FAC Fails to Allege Reliance upon the Alleged Omission with
20                      Particularity.

21          The FAC fails to allege with particularity that there was a causal connection between

22   the alleged omission of the Rao incident and LifeLine’s investments in OZY. “Reliance

23   establishes the causal connection between the alleged fraud and the securities transaction.”

24   Desai v. Deutsche Bank Sec. Ltd., 573 F.3d 931, 939 (9th Cir. 2009) (per curiam) (citing

25   Stoneridge Inv. Partners, LLC v. Sci.–Atlanta, 552 U.S. 148, 159 (2008)). In other words,

26   “[t]o say that a plaintiff relied on a defendant’s bad act is to say that the defendant’s actions

27   ‘played a substantial part in the plaintiff’s investment decision.’” Id. (quoting Rowe v.

28   Maremont Corp., 850 F.2d 1226, 1233 (7th Cir. 1988)).

                                                           Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                             Case No. 21-cv-07751-BLF, Page 19 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 27 of 30



 1          Here, the FAC alleges that LifeLine invested in OZY based in part on the warranties
 2   of legality in the SPAs as well as “direct assurances from Watson and Rao concerning Ozy
 3   Media’s strong business performance, investments by high profile institutional investors,
 4   high viewer metrics, and competent and honest company management.” FAC ¶ 5. As to the
 5   latter, LifeLine could not have reasonably relied on any oral statements by Watson or Rao
 6   during the due diligence process because LifeLine is a sophisticated investor, and both the
 7   Series C and Series D SPAs include integration clauses that disclaim any reliance on
 8   representations not set forth in the SPAs themselves. “Where the plaintiff is a sophisticated
 9   investor and an integrated agreement between the parties does not include the
10   misrepresentation at issue, the plaintiff cannot establish reasonable reliance on that
11   misrepresentation.” ATSI Commc’ns, Inc., 493 F.3d at 105 (citations omitted).

12          But putting aside for a moment the fact that only the identified warranties in the SPAs
13   are theoretically actionable, LifeLine fails to articulate how the undisclosed Rao incident was
14   relevant to its investment decisions. Indeed, the FAC supports the opposite conclusion. As
15   the FAC concedes, Watson informed LifeLine before it signed the Series C SPA that
16   Goldman had decided not to invest in OZY. FAC ¶ 14. Strikingly absent from the FAC,
17   however, is any suggestion that LifeLine sought to know more about Goldman’s decision.

18   The FAC does not allege that in any of the three due diligence calls that followed the
19   revelation of Goldman’s withdrawal, LifeLine made inquiry as to the circumstances and the
20   reasons behind Goldman’s decision not to proceed. Clearly, then, Goldman’s decision not to
21   invest, and hence any reason for it, was not germane to LifeLine’s own investment calculus
22   in February 2021. Any alleged connection to LifeLine’s Series D investment in May 2021 is
23   even more attenuated as LifeLine alleges no further representations or omissions that might
24   have affected its decision to proceed with the second round of funding months later.
25          Because the FAC fails to plead reliance “with the level of factual specificity required
26   by the PSLRA,” the Second and Third Claims should be dismissed. See ESG Capital
27   Partners, LP v. Stratos, No. CV 13-01639 ODW(SHX), 2013 WL 12131355, at *6 (C.D.
28   Cal. June 26, 2013) (Plaintiff “fails to plead particularized facts establishing the requisite

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 20 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 28 of 30



 1   causal connection between [defendants’] statements or omissions and how those statements
 2   or omissions ‘played a substantial part in the plaintiff’s investment decision.’” (quoting
 3   Desai, 573 F.3d at 939)).
 4
                      E. The FAC Fails to Allege Economic Loss and Loss Causation with
 5                       Particularity.

 6          A complaint alleging federal securities fraud must provide the defendant “notice of

 7   what the relevant economic loss might be” and “of what the causal connection might be

 8   between that loss and the misrepresentation [or omission].” Dura Pharms., Inc. v. Broudo,

 9   544 U.S. 336, 347 (2005). A complaint “must demonstrate a causal connection between the

10   deceptive acts that form the basis for the claim of securities fraud and the injury suffered by

11   the [plaintiff].” Oregon Pub. Emps. Ret. Fund v. Apollo Grp., 774 F.3d 598, 608 (9th Cir.

12   2014) (quoting Ambassador Hotel Co. v. Wei–Chuan Inv., 189 F.3d 1017, 1027 (9th Cir.

13   1999)). This Court has recognized that the same burden of pleading loss and loss causation

14   with particularity applies whether the company is public or private. Oracle Partners, L.P. v.

15   Concentric Analgesics, Inc., No. 20-CV-03775-HSG, 2021 WL 2322351, at *6–7 (N.D. Cal.

16   June 7, 2021).

17          With respect to economic loss, LifeLine makes no attempt to quantify the amount of

18   its alleged loss, simply demanding damages “not less than the difference between the amount

19   paid by [LifeLine] for the shares in Ozy Media and the value of the shares following the

20   disclosure of Rao’s fraudulent conduct.” See FAC ¶ 38; see also id. ¶ 44. Such general

21   allegations do not rise to level of particularity required by Rule 9(b) and the PSLRA, and are

22   tantamount to pleading mere share inflation, which the Ninth Circuit has rejected. Irving

23   Firemen’s Relief & Ret. Fund v. Uber Techs., Inc., 998 F.3d 397, 410 (9th Cir. 2021).

24          As for loss causation, LifeLine tries to draw a connection between the representations

25   in the SPAs and the effect the revelations in the New York Times article may have had on the

26   value of LifeLine’s shares. But as explained supra, the news report does not shed any light

27   on the truth or falsity of the warranties. And, even assuming that the value of LifeLine’s

28   shares in OZY may have declined following the revelation of the Rao incident and the

                                                         Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                           Case No. 21-cv-07751-BLF, Page 21 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 29 of 30



 1   potential of a government investigation—a bare assumption at this time—the FAC does not
 2   demonstrate how any such alleged loss accurately reflects a correction of the market to the
 3   fraud alleged. See Metzler, 540 F.3d at 1063–64; see also Dura Pharms., 544 U.S. at 343
 4   (“[L]ower price may reflect, not the earlier misrepresentation, but changed economic
 5   circumstances, changed investor expectations, new industry-specific or firm-specific facts,
 6   conditions, or other events, which taken separately or together account for some or all of that
 7   lower price.”).
 8          Failure to adequately plead economic loss and loss causation are additional,
 9   independent bases for the Court to dismiss the Second and Third Claims.
10          III.       THE FAC’S FAILURE TO STATE A CLAIM FOR FEDERAL
11                     SECURITIES FRAUD DOOMS ITS CLAIMS FOR FRAUD UNDER
                       CALIFORNIA STATE LAW (FOURTH, FIFTH, SIXTH, AND
12                     SEVENTH CLAIMS).

13          The remaining claims in the FAC merely repackage the allegations of the First
14   through Third Claims as alleged violations of California Corporations Code § 25401 (Fourth
15   Claim through Sixth Claim) and fraud by concealment (Seventh Claim). Ample authority
16   from this Court and others in the Circuit holds that where a complaint fails to state a claim
17   for federal securities fraud, claims for state securities fraud and common-law fraud
18   predicated on identical allegations necessarily fail.
19          For example, in Mohebbi v. Khazen, 50 F. Supp. 3d 1234 (N.D. Cal. 2014), this Court
20   explained its dismissal of claims under California Corporations Code § 25401 after it had
21   concluded the plaintiff failed to state a claim for federal securities fraud:
22          Plaintiff’s sixth cause of action is for violations of California Corporations Code
            section 25401 . . . . The Court agrees with Defendants that Plaintiff’s inability to
23          state a claim for fraud under Section 10b–5 is also fatal to his § 25401 claims.
24          See Jackson v. Fischer, 931 F. Supp. 2d 1049, 1063 (N.D. Cal. 2013) (finding
            that a Plaintiff unable to state a claim under 10b–5 was also unable to state a
25          claim under § 25401, because both statutes required the Court to engage in the
            same factual inquiry).
26
27   Id. at 1252; see also Wallack v. Idexx Labs., Inc., No. 11-cv-2996-GPC (KSC), 2013 WL
28   5206190, at *12 (S.D. Cal. 2013) (concluding that “failure to plead with requisite

                                                             Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                               Case No. 21-cv-07751-BLF, Page 22 of 23
             Case 5:21-cv-07751-BLF Document 31 Filed 01/07/22 Page 30 of 30



 1   particularity factual and evidentiary allegations which would create an inference that
 2   Defendants made false statements” was a “requisite element” of both federal and state
 3   securities claims).
 4          The court in Wallack employed the same logic to dismiss a claim for fraudulent
 5   concealment under California law, reasoning: “Underlying this cause of action are the same
 6   alleged misleading facts alleged in the federal and state securities fraud causes of action.
 7   Since Plaintiff has not sufficiently pled a false statement under Rule 9(b) in the federal and
 8   state securities fraud causes of action, this claim also fails.” 2013 WL 5206190, at *13; see
 9   also Jackson, 931 F. Supp. 2d at 1060, 1067 (dismissing claim for alleged violation of
10   § 10(b) and Rule 10b–5 and claim for common-law fraud for same reason: lack of
11   particularity); Donovan v. Flamingo Palms Villas, LLC, No. 2:08-CV-01675-RCJ-RJJ, 2009

12   WL 10693913, at *8, *11 (D. Nev. June 23, 2009) (dismissing alleged violations of federal
13   securities laws and fraud by concealment under California law for lack of particularity).
14          Accordingly, as plaintiff relies on the same defective allegations of the federal
15   securities causes of action, its state-law claims should be dismissed.
16                                           CONCLUSION
17          For the reasons stated above, OZY respectfully requests that the Court dismiss the

18   FAC with prejudice and award OZY any applicable attorneys’ fees and costs.
19
20   DATED: January 7, 2022                Respectfully submitted,

21                                         DELAHUNTY & EDELMAN LLP
                                           By:        /s/ William J. Edelman
22
                                               PATRICK R. DELAHUNTY, SBN 257439
23                                             pdelahunty@delawllp.com
                                               WILLIAM J. EDELMAN, SBN 285177
24                                             wedelman@delawllp.com
25                                                 Attorneys for Defendant Ozy Media, Inc.
26
27
28

                                                          Def.’s Mot. to Dismiss Pl.’s First Am. Compl.
                                                            Case No. 21-cv-07751-BLF, Page 23 of 23
